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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               JONESBORO DIVISION

ANDREA WEST FERGUSON                                                                 PLAINTIFF

VS.                                  3:12-CV-00170-BRW

ROBERT L. WARNER, JR., M.D.                                                        DEFENDANT

                                            ORDER

       Pending is a Joint Motion for Dismissal (Doc. No. 60). The parties state that a settlement

was reached and request that this case be dismissed. Accordingly, the Motion is GRANTED,

and this case is DISMISSED with prejudice.

       The Court retains jurisdiction to enforce the terms of the settlement agreement, and, if

necessary, vacate this order and reopen this action for good cause shown.

       IT IS SO ORDERED this 9th day of May, 2013.



                                                 /s/Billy Roy Wilson
                                          UNITED STATES DISTRICT JUDGE
